Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 1 of 21 PageID #: 1
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 2 of 21 PageID #: 2
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 3 of 21 PageID #: 3
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 4 of 21 PageID #: 4
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 5 of 21 PageID #: 5
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 6 of 21 PageID #: 6
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 7 of 21 PageID #: 7
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 8 of 21 PageID #: 8
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 9 of 21 PageID #: 9
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 10 of 21 PageID #:
                                     10
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 11 of 21 PageID #:
                                     11
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 12 of 21 PageID #:
                                     12
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 13 of 21 PageID #:
                                     13
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 14 of 21 PageID #:
                                     14
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 15 of 21 PageID #:
                                     15
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 16 of 21 PageID #:
                                     16
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 17 of 21 PageID #:
                                     17
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 18 of 21 PageID #:
                                     18
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 19 of 21 PageID #:
                                     19
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 20 of 21 PageID #:
                                     20
Case 4:12-cv-00072-RLY-WGH   Document 1   Filed 06/13/12   Page 21 of 21 PageID #:
                                     21
